       Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 1 of 15 PageID #:1




                   IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

  BIANCA JOSEPH and JUSTIN
  ROGALSKY, individually and on behalf of             Case No. 1:24-cv-11026
  all others similarly situated,

                          Plaintiffs,

  v.

 YARDI SYSTEMS, INC., a California
 corporation,

                          Defendant.


             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiffs Bianca Joseph and Justin Rogalsky bring this class action complaint against

Defendant Yardi Systems, Inc. (“Yardi”) to put an end to its unlawful practice of using the

names and identities of Illinois and Ohio residents without their consent in order to promote its

service. Plaintiffs, on behalf of themselves and all others similarly situated, allege as follows

upon personal knowledge as to their own acts and experiences, and, as to all other matters, upon

information and belief.

                                   NATURE OF THE ACTION

        1.      Defendant Yardi Systems operates a website called Property Shark that sells

access to a database containing proprietary information about homeowners to anybody willing to

pay for access to it.

        2.      To market its service, Yardi encourages prospective customers to perform a free

search on its website. When consumers perform a free search for an individual—by typing the

individual’s first and last name into the search bar—Yardi displays a preview page featuring the

searched individual’s full name alongside properties the individuals either currently own or



                                                  1
      Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 2 of 15 PageID #:2




previously owned. The purpose of this page is twofold: first, it shows potential customers that

the Property Shark database contains the specific individual they searched for and represents that

a paid membership grants access to much more information about the individual than the “free”

preview; and second, it offers to sell them a paid membership, where they can access proprietary

information about any property owner in its database. In other words, Yardi uses the identities of

searched individuals to sell a membership to its paid service.

       3.      Unsurprisingly, the people appearing in these advertisements never provided

Yardi with their consent (written or otherwise) to use their identities for any reason, let alone for

marketing purposes.

       4.      By using Illinois and Ohio residents’ full names in its advertisements without

their consent and for its own commercial gain, Yardi violated—and continues to violate—the

Illinois Right of Publicity Act (“IRPA”) 765 ILCS 1075/1, et seq. and the Ohio Rev. Code

2741.01, et seq.

                                             PARTIES

       5.      Plaintiff Bianca Joseph is a natural person and a citizen of the State of Illinois.

       6.      Plaintiff Justin Rogalsky is a natural person and a citizen of the State of Ohio.

       7.      Defendant Yardi Systems, Inc., is a company existing under the laws of the State

of California with its principal place of business located at 430 South Fairview Avenue, Santa

Barbara, California 93117.

                                 JURISDICTION AND VENUE

       8.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2),

because (i) at least one member of the putative Class is a citizen of a state different from the

Defendant, (ii) the amount in controversy exceeds $5,000,000, exclusive of interest and costs,




                                                  2
      Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 3 of 15 PageID #:3




and (iii) none of the exceptions under the subsection apply to this action.

        9.      This Court has personal jurisdiction over Defendant because it transacts

significant business in this District; it purposefully collects Illinoisans’ personal data, including

their full names, their property address, other addresses associated with individuals, and

information about their homes; it misappropriates the identities of people that it knows reside in

this District; it uses the fact that individuals are located in Illinois to sell individual reports and

subscriptions to its website; and the unlawful conduct alleged in the Complaint occurred in and

emanated from this District. Plaintiff Joseph’s injury arises out of Defendant’s Illinois-related

activities because Plaintiff Joseph is a citizen of Illinois and Defendant used her full name,

property address, and other personal information to advertise and/or sell Defendant’s products

and services.

        10.     Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial

part of the events giving rise to this claim occurred in this District.

                             COMMON FACTUAL ALLEGATIONS

The Illinois Right of Publicity Act

        11.     In 1999, the Illinois Legislature recognized that every individual has the “right to

control and choose whether and how [his or her] identity [is used] for commercial purposes,” 765

ILCS 1075/10, and as a result, passed the IRPA to protect individual property rights and prevent

the exploitation of individuals’ identities for another’s commercial gain.

        12.     The Act protects individuals from the unauthorized use of any of their attributes,

including but not limited to, their names, signatures, photographs, images, likenesses, or voices

in the sale or advertisement of goods, merchandise, products, and services.

        13.     In fact, the IRPA states that “[a] person may not use an individual’s identity for




                                                    3
      Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 4 of 15 PageID #:4




commercial purposes during the individual’s lifetime without having obtained previous written

consent from the appropriate person…” 765 ILCS 1075/30. Notably, the IRPA does not require

the person seeking relief under the Act to be a public figure.

The Ohio Right of Publicity Law

       14.     Similarly, the Ohio Right of Publicity Law prohibits the use of “any aspect of an

individual’s persona for a commercial purpose.” Ohio Rev. Code § 2741.02(A). “A person may

use an individual’s persona for a commercial purpose during the individual’s lifetime if the

person first obtains the written consent to use the individual’s persona….” Ohio Rev. Code §

2741.02(B) (emphasis added).

       15.     The statute protects an individual’s attribute, including but not limited to, their

“name, voice, signature, photograph, image, likeness, or distinctive appearance.” See Ohio Rev.

Code § 2741.01(A).

       16.     Furthermore, “commercial purpose” under the statute, in pertinent parts, means

“the use of or reference to an aspect of an individual’s persona… (1) [o]n or in connection with a

place, product, merchandise, goods, services…[or] (2) [f]or advertising or soliciting the purchase

of products, merchandise, goods, services…” Ohio Rev. Code § 2741.01(B).

Yardi Uses Individuals’ Names to Promote Paid Access to Its Database

       17.     Yardi owns and operates the Property Shark website that sells paid access to

“unrivaled property information.” Yardi compiles its database, in part, from property records

(including Illinois and Ohio property records) and markets its database as “[y]our one-stop real

estate data source” which includes property owner’s names and contact details, property

characteristics, sales history, and much more.

       18.     Property Shark access must be purchased from its website, which allows its




                                                  4
Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 5 of 15 PageID #:5
Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 6 of 15 PageID #:6
        Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 7 of 15 PageID #:7




brings this action against Defendant for its ongoing violations of the Illinois Right of Publicity

Act, and seeks (1) injunctive relief requiring Defendant to cease using Illinois residents’

identities for commercial purposes, including on its Marketing Page, (2) an award of statutory

damages, (3) an award of punitive damages, and (4) an award of costs and reasonable attorneys’

fees.

         26.    Plaintiff Rogalsky, on behalf of himself and other similarly situated Ohio

residents, brings this action against Defendant for its ongoing violations of the Ohio Right of

Publicity Law, and seeks (1) injunctive relief requiring Defendant to cease using Ohio residents’

identities for commercial purposes, including on its Marketing Page, (2) an award of statutory

damages and an award of treble the statutory damages, (3) an award of punitive or exemplary

damages, and (4) an award of costs and reasonable attorneys’ fees.

                             FACTS SPECIFIC TO PLAINTIFF JOSEPH

         27.    In 2024, Plaintiff Joseph discovered that Yardi was using her identity to solicit the

purchase of paid access to Property Shark.

         28.    Yardi specifically identified Plaintiff by her full name and her property address.

See Figure 2.

         29.    Plaintiff never provided Yardi with her written consent (or consent of any kind) to

use any attribute of her identity for commercial purposes, and certainly never authorized Yardi to

use her identity to promote any of its products or services.

         30.    Plaintiff Joseph is not and has never been a Property Shark customer. She has no

relationship with Property Shark’s website whatsoever.

                       FACTS SPECIFIC TO PLAINTIFF ROGALSKY

         31.    In 2024, Plaintiff Rogalsky discovered that Yardi was using his identity to solicit




                                                  7
Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 8 of 15 PageID #:8
      Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 9 of 15 PageID #:9




Together, the Illinois Class and Ohio Class are referred to as the “Classes”.

       36.     Excluded from the Classes are: (1) any Judge or Magistrate presiding over this

action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,

successors, predecessors, and any entity in which the Defendant or their parents have a

controlling interest and its current or former employees, officers and directors; (3) persons who

properly execute and file a timely request for exclusion from the Classes; (4) persons whose

claims in this matter have been finally adjudicated on the merits or otherwise released; (5)

Plaintiffs’ counsel and Defendant’s counsel; and (6) the legal representatives, successors, and

assigns of any such excluded persons.

       37.     Numerosity: The exact number of members of the Classes is unknown and not

available to Plaintiffs at this time but it is clear that individual joinder is impracticable. Members

of the Classes can be identified through Defendant’s records.

       38.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiffs and the putative Classes, and those questions predominate

over any questions that may affect individual members of the Classes. Common questions for the

Classes include, but are not necessarily limited to the following:

               a.      Whether Defendant used Plaintiffs’ and members of the putative Classes’

                       names and identities for a commercial purpose;

               b.      Whether Plaintiffs and members of the Classes provided their written

                       consent to Defendant to use their names and identities on the Marketing

                       Page;

               c.      Whether the conduct described herein constitutes a violation of the Illinois

                       Right of Publicity Act and the Ohio Right of Publicity Law; and




                                                  9
    Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 10 of 15 PageID #:10




               d.      Whether Plaintiffs and the Classes are entitled to injunctive relief.

       39.     Typicality: Plaintiffs’ claims are typical of the claims of other members of the

Classes, in that Plaintiffs and the members of the Classes sustained damages arising out of

Defendant’s uniform wrongful conduct.

       40.     Adequate Representation: Plaintiff Joseph will fairly and adequately represent

and protect the interests of the Illinois Class and has no interest antagonistic to those of the

Illinois Class, and Plaintiff Rogalsky will fairly and adequately represent and protect the interests

of the Ohio Class and has no interest antagonistic to those of the Ohio Class. Both Plaintiffs and

have retained counsel competent and experienced in complex class actions. Defendant has no

defenses unique to Plaintiffs.

       41.     Policies Generally Applicable to the Classes: This class action is appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the

Classes as a whole, thereby requiring the Court’s imposition of uniform relief to ensure

compatible standards of conduct toward the members of the Classes and making final injunctive

relief appropriate with respect to the Classes as a whole. Defendant’s policies challenged herein

apply and affect members of the Classes uniformly and Plaintiffs’ challenge of these policies

hinges on Defendant’s conduct with respect to the Classes as a whole, not on facts or law

applicable only to Plaintiffs. Plaintiffs and the members of the Classes have suffered harm and

damages as a result of Defendant’s unlawful and wrongful conduct.

       42.     Superiority: This case is also appropriate for class certification because class

proceedings are superior to all other available methods for the fair and efficient adjudication of

this controversy because joinder of all parties is impracticable. The damages suffered by the

individual members of the Classes will likely be relatively small, especially given the burden and




                                                  10
    Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 11 of 15 PageID #:11




expense of individual prosecution of the complex litigation necessitated by Defendant’s actions.

Thus, it would be virtually impossible for the individual members of the Classes to obtain

effective relief from Defendant’s misconduct. Even if members of the Classes could sustain such

individual litigation, it would still not be preferable to a class action, because individual litigation

would increase the delay and expense to all parties due to the complex legal and factual

controversies presented in this Complaint. By contrast, a class action presents far fewer

management difficulties and provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single Court. Economies of time, effort and expense will be

fostered, and uniformity of decisions ensured.

                                      FIRST CAUSE OF ACTION
                Violation of the Illinois Right of Publicity Act 765 ILCS 1075/1, et seq.
                         (On behalf of Plaintiff Joseph and the Illinois Class)

          43.      Plaintiff Joseph incorporates the foregoing allegations as if fully set forth herein.

          44.      The Illinois Right of Publicity Act prohibits using a person’s name, photograph,

image, or likeness for the purpose of advertising or promoting products, merchandise, goods, or

services without written consent. See 765 ILCS 1075/1, et seq.

          45.      Defendant sells paid access to its database containing detailed reports about

people.

          46.      As described above, to promote those reports, Defendant used Plaintiff Joseph’s

and the putative Illinois Class members’ identities on its Marketing Pages, which display the

individuals found within its records that match searched-for names, alongside uniquely

identifying information such as each person’s address. This information serves to identify such

individuals.

          47.      The Marketing Page has a commercial purpose in that it promotes the Property




                                                     11
    Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 12 of 15 PageID #:12




Shark website and paid access reports in its database.

          48.    Plaintiff Joseph and members of the Illinois Class never provided Defendant with

their written consent to use their full names (or any attribute of their identity) in advertisements

for Property Shark. Defendant never notified Plaintiff Joseph and Illinois Class members that

their identities would be used in commercial advertisements.

          49.    Defendant deprived Plaintiff Joseph and Illinois Class members of control over

whether and how their names and other identifying information can be used for commercial

purposes.

          50.    Based upon Defendant’s violation of the Illinois Right of Publicity Act, Plaintiff

Joseph and Illinois Class members are entitled to (1) an injunction requiring Defendant to cease

using Plaintiff Joseph’s and Illinois Class members’ names and any attributes of their identities

to advertise its products and services, (2) an award of statutory damages of $1,000 per violation

to Plaintiff Joseph and the members of the Illinois Class, (3) an award of punitive damages, and

(4) an award of costs and reasonable attorneys’ fees under 765 ILCS 1075/40-55.

                                 SECOND CAUSE OF ACTION
          Violation of the Ohio Right of Publicity Law, Ohio Rev. Code § 2741.01 et seq.
                        (On behalf of Plaintiff Rogalsky and the Ohio Class)

          51.    Plaintiff Rogalsky incorporates the foregoing allegations as if fully set forth

herein.

          52.    The Ohio Right of Publicity Law prohibits using a person’s name, image, or

likeness for the purpose of advertising or promoting products, merchandise, goods, or services

without written consent. See Ohio Rev. Code § 2741.01, et seq.

          53.    Defendant sells paid access to its database containing detailed reports about

people.




                                                  12
    Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 13 of 15 PageID #:13




       54.     As described above, to promote those reports, Defendant used Plaintiff

Rogalsky’s and the putative Ohio Class members’ identities on its Marketing Pages, which

display the individuals found within its records that match searched-for names, alongside

uniquely identifying information such as each person’s address. This information serves to

identify such individuals.

       55.     The Marketing Page has a commercial purpose in that it promotes the Property

Shark website and paid access reports in its database.

       56.     Plaintiff Rogalsky and members of the Ohio Class never provided Defendant with

their written consent to use their full names (or any attribute of their identity) in advertisements

for Property Shark. Defendant never notified Plaintiff Rogalsky and Ohio Class members that

their identities would be used in commercial advertisements.

       57.     Defendant deprived Plaintiff Rogalsky and Ohio Class members of control over

whether and how their names and other identifying information can be used for commercial

purposes.

       58.     Based upon Defendant’s violation of the Ohio Right of Publicity Law, Plaintiff

Rogalsky and Ohio Class members are entitled to (1) an injunction requiring Defendant to cease

using Plaintiff Rogalsky’s and Ohio Class members’ names and any attributes of their identities

to advertise its products and services, (2) the greater of an award of actual damages (including

profits derived from the unauthorized use of Plaintiff Rogalsky’s and Ohio Class members’

names and identities) or statutory damages between $2,500 and $10,000 per violation to Plaintiff

Rogalsky and Ohio Class members, (3) an award of punitive or exemplary damages, (4) an

award treble damages, and (5) an award of costs and reasonable attorneys’ fees under Ohio Rev.

Code § 2741.07.




                                                 13
    Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 14 of 15 PageID #:14




                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Bianca Joseph and Justin Rogalsky, individually and on

behalf of the Classes, pray that the Court enter an Order:

       a.      Certifying this case as a class action defined above, appoint Bianca Joseph as
               Class Representative of the Illinois Class, appoint Justin Rogalsky as Class
               Representative of the Ohio Class, and appoint their counsel as Class Counsel;

       b.      Declaring that Defendant’s actions described herein constitute a violation of the
               Illinois Right of Publicity Act and the Ohio Right of Publicity Law;

       c.      Awarding injunctive and other equitable relief as necessary to protect the interest
               of the Classes, including, inter alia, an order prohibiting Defendant from
               engaging in the wrongful and unlawful acts described herein;

       d.      Awarding the greater of actual damages, the profits derived from the unauthorized
               use described herein, or statutory damages in the amount of $1,000 per violation
               to the members of the Illinois Class;

       e.      Awarding the greater of actual damages, including the profits derived from the
               unauthorized use of described herein, or statutory damages in the amount of
               $10,000 per violation to the members of the Ohio Class;

       f.      Awarding punitive damages where applicable;

       g.      Awarding Plaintiffs and the Classes their reasonable litigation expenses and
               attorneys’ fees;

       h.      Awarding Plaintiffs and the Classes pre- and post-judgment interest; and

       i.      Granting such other and further relief as the Court deems equitable and just.

                                         JURY DEMAND

       Plaintiffs request trial by jury of all matters that can be so tried.

                                               Respectfully Submitted,

                                               BIANCA JOSEPH and JUSTIN ROGALSKY,
                                               individually and on behalf of all others similarly
                                               situated,

Dated: October 25, 2024                        By: /s/ Ari Scharg
                                                       One of Plaintiffs’ Attorneys



                                                  14
Case: 1:24-cv-11026 Document #: 1 Filed: 10/25/24 Page 15 of 15 PageID #:15




                                  Ari Scharg
                                  ascharg@edelson.com
                                  Schuyler Ufkes
                                  sufkes@edelson.com
                                  EDELSON PC
                                  350 North LaSalle Street, 14th Floor
                                  Chicago, Illinois 60654
                                  Tel: 312.589.6370
                                  Fax: 312.589.6378

                                  Philip L. Fraietta
                                  pfraietta@bursor.com
                                  BURSOR & FISHER, P.A.
                                  1300 Avenue of the Americas, 32nd Floor
                                  New York, NY 10019
                                  Tel: 646.837.7150

                                  Kevin Tucker
                                  ktucker@eastendtrialgroup.com
                                  Stephanie Moore (pro hac vice)
                                  smoore@eastendtrialgroup.com
                                  Jessica Liu (pro hac vice)
                                  jliu@eastendtrialgroup.com
                                  EAST END TRIAL GROUP LLC
                                  6901 Lynn Way, Suite 215
                                  Pittsburgh, PA 15208
                                  Tel: 412.877.5220

                                  Attorneys for Plaintiffs and the Classes




                                    15
